Case: 1:00-cv-07337 Document #: 138 Filed: 05/01/02 Page 1 of 1 PagelD #:141

Mimate Order Farm (06/97)

United States District Court, Northern District of Illinois

No notices required.

Notices mailed by judge’s staff.

Notified counsel by telephone.

/ | Docketing to mail notices.

Mail AO 450 form.

Copy to judge/magistrate judge.

courtroom
SM deputy’s
initials

number of notices

Name of Assigned Judge Jan H. Levin Sitting Judge if Other
or Magistrate Judge than Assigned Judge
CASE NUMBER 00 C 7337 DATE 5/1/2002
CASE Ruff vs. Partners Liquidating Trust
TITLE
[In the following box (a) indicate the party filing the motion, ¢.g., plaintiff, defendant, 3rd party plaintiff, and (b) state briefly the nature
MOTION: of the motion being presented.)
Stipulation of dismissal of certain parties and claims with prejudice
DOCKET ENTRY:
(i) a Filed motion of [ use listing in “Motion” box above.]
(2) Cl Brief in support of motion due
(3) [] Answer brief to motion due Reply to answer brief due
(4) O Ruling/Hearing on set for at
(5) oO Status hearing[held/continued to] [set for/re-set for] on set for at
(6) O Pretrial conference[held/continued to] [set for/re-set for] on set for at
(7) O Trial[set for/re-set for] on at
(8) C [Bench/Jury trial] [Hearing] held/continued to at
(9) E] This case is dismissed [with/without] prejudice and without costs[by/agreement/pursuant to]
OOFRCP4(m) (General Rule2i OIFRCP4i(a)\(1) © FRCP41(a)(2).

(0) [Other docket entry] Stipulation of dismissal of certain parties and claims with prejudice

against Scott L. Lager, Mitchell Hochberg, Stephen Berini, Jack Shaffer and Partners Liquidating

Trust is granted.
gy oa [For further detail see order (on reverse side offattached to) the original minute order.]

No notices required, advised in open court. Document.

Number

MAY 0 9 200:

date docketed

docketing depulyinitials

/

date mailed notice

Date/time received'in |.
central Clerk’s Office

mailing deputy initials

2

